
Except for that portion of the opinion specifically holding that this Court would be bound by the Eleventh Circuit's determination that a claimant is not entitled to a jury trial when suing to recover benefits under an ERISA plan, I concur in the opinion. While I think that the Eleventh Circuit decision correctly decides the question of the claimant's right to a jury trial under the Federal Constitution, I do not believe that decision is binding precedent. It appears to me that Alabama courts, if granted jurisdiction, as they are, to try claims such as this, then Alabama courts, in the absence of a decision of the Supreme Court of the United States, can decide every issue presented in the case, and especially those such as are presented here, a claimant's right to trial by jury. Although decisions of lower federal courts would be persuasive authority, I agree with Justice Shores, who concurs in the result, on this point.